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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
                                      _
                                        )
U.S. SECURITIES AND EXCHANGE            )
COMMISSION,                             )
                                        )
                      Plaintiff,        )    Civil Action No. 18-CV-5587
                                        )
                 v.                     )
                                        )
EQUITYBUILD, INC., EQUITYBUILD          )    Hon. Judge John Z. Lee
FINANCE LLC, JEROME H. COHEN, and       )
SHAUN D. COHEN,                         )
                                        )
                      Defendants.       )
                                        )

                                    NOTICE OF MOTION

To: See attached Certificate of Service

         PLEASE TAKE NOTICE that on August 17, 2018, at 9:00 a.m., or as soon thereafter as
counsel may be heard, Plaintiff Securities and Exchange Commission will appear before the
Honorable John Z. Lee, in Courtroom Number 1225, 219 South Dearborn Street, Chicago,
Illinois, 60604, or before any judge who may be sitting in his place and stead, and shall then and
there present Plaintiff’s Emergency Motion for a Temporary Restraining Order to Prevent
Violations of the Federal Securities Laws, to Appoint a Receiver, and to Provide for Other
Ancillary Relief [ECF No. 3].

                                                    Respectfully Submitted,

Dated: August 16, 2018                               /s/ Benjamin J. Hanauer      _
                                                    Benjamin J. Hanauer (hanauerb@sec.gov)
                                                    Ariella Guardi (guardia@sec.gov)
                                                    Timothy J. Stockwell (stockwellt@sec.gov)
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                                                    Attorneys for Plaintiff
                                                    U.S. Securities and Exchange Commission
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on August 16, 2018, I caused a copy of the foregoing instrument to
be served upon the following counsel for the Defendants by electronic mail:

                Mark L. Rosenberg, Esq.
                Bregman, Berbert, Schwartz & Gilday, LLC
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                Bethesda, Maryland 20814
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                                                             /s/ Benjamin J. Hanauer _
